      Case 05-30319         Doc 10      Filed 01/31/19 Entered 01/31/19 23:55:17                      Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form reqobar

                                    UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Texas

Sherman (Plano)
Suite 300B
660 North Central Expressway
Plano, TX 75074


In     James Barrow Moore and Robin Moore                    Bankruptcy Case No.: 05−30319
Re:    Debtor                                                Chapter: 7


      ORDER FIXING LAST DATE FOR FILING PROOFS OF CLAIMS COMBINED WITH NOTICE
                                      THEREOF

TO THE CREDITORS OF THE ABOVE−NAMED DEBTOR:

Notice having been previously given that creditors of the above−named debtor(s) were not required to file proofs of
claims and it now appearing that a possible dividend may be declared for creditors at a later date, it is

ORDERED AND NOTICE IS HEREBY GIVEN THAT 4/9/19 is hereby fixed as the last date for the filing of
proofs of claim by any creditor of the above−named debtor(s) who desires to have his claim allowed so that he may
share in any distribution to be paid from the estate. Creditors must file a claim, whether or not they are included in
the list of creditors filed by the debtor(s), no later than the date above fixed or their claim will not be allowed,
except as otherwise provided by law. Claims may be filed in the office of the undersigned Clerk on the official form
prescribed for proofs of claim ("Official Form B 410"), a copy of which can be obtained at the United States Courts
Web site: https://ecf.txeb.uscourts.gov/b410.html or at any bankruptcy clerk's office.

You are further notified that if a distribution is to be declared for creditors, it will not be made until conclusion of
the administration of this estate by the trustee. At a later date, you will be given notice of the filing of the final
report of the trustee, applications for compensation and the proposed distributions which may include a possible
dividend to creditors.

Proof of Claim Deadline for Non−Governmental Claimants 4/9/19.
Proof of Claim Deadline for Governmental Units is 7/29/19.

Dated: 1/29/19

                                              Jason K. McDonald, Clerk
                                                U.S. Bankruptcy Court


MAIL ORIGINAL PROOFS OF CLAIM TO:

Suite 300B
660 North Central Expressway
Plano, TX 75074

*** ANY CLAIMANT WHO HAS PREVIOUSLY FILED A CLAIM IN THESE PROCEEDINGS IS NOT
REQUIRED TO RE−FILE SAME AND MAY DISREGARD THIS NOTICE. CLAIMANTS ARE STRONGLY
ENCOURAGED TO USE THE CLAIM FORM LOCATED AT https://ecf.txeb.uscourts.gov/b410.html OR AT
ANY BANKRUPTCY CLERK'S OFFICE.

James Barrow Moore
Robin Moore
05−30319
           Case 05-30319           Doc 10       Filed 01/31/19 Entered 01/31/19 23:55:17                         Desc Imaged
                                                Certificate of Notice Page 2 of 3
                                               United States Bankruptcy Court
                                                 Eastern District of Texas
In re:                                                                                                     Case No. 05-30319-btr
James Barrow Moore                                                                                         Chapter 7
Robin Moore
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0540-4                  User: colwilld                     Page 1 of 2                          Date Rcvd: Jan 29, 2019
                                      Form ID: 895                       Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 31, 2019.
db/jdb         +James Barrow Moore,    Robin Moore,    735 CR 36400,    Arthur City, Tx 75411
tr             +Christopher Moser,    2001 Bryan Street, Suite 1800,     Dallas, TX 75201-3070
cr             +Lamar National Bank, Paris, TX,     c/o Eric S. Clifford,    5295 Clarksville St.,
                 Paris, TX 75462-2632
4261220         Advanced Heart Care,    8230 Walnut Hill Ln #620,      Dallas, Texas 75231-4407
4261221         Aetna Life Insurance,    PO Box 14553,    Lexington, Ky 40512-4553
4261222        +Dermaquest skin Therapy,    1600 Delta Ct,     Hayward, Ca 94544-7043
4261224         District Director, IRS,    Special Procedures Staff,     Stop 5022H-BP,   PO Box 42837,
                 Houston, TX 77242-2837
4261225        +Lamar County Apprasial Dist,     PO Box 400,    Paris, Tx 75461-0400
4261226        +Lamar Natinal Bank,    200 S Collegiate,     Paris, Tx 75460-6303
4261228        +Lamar National Bank,    200 S Collegiate,     Paris, Tx 75460-6303
4261227        +Lamar National Bank,    200 S Collegiate Dr,     Paris, Tx 75460-6303
4261230     ++++MARY JEAN MCCRARY (ESTATE),    1210 COUNTY ROAD 33900,     POWDERLY TX 75473-5006
               (address filed with court: Mary Jean McCrary (Estate),       1200 gate Two Rd,
                 Powderly, Tx 75473-9755)
4261231        +Millewium Shopper,    PO Box 1037,    Sulphur Springs, Tx 75483-1037
4261232        +Mortgage Guaranty Insurance,     C/o Remington & Lewis,    6116 N Central Expressway,
                 Dallas, Tx 75206-5162
4261233        #Orthopedic Associates,    PO Box 201576,     Dallas, Texas 75320-1576
4261234        +Rains County Leader,    239 N Texas St,    PO Box 127,    Emory, Texas 75440-0127
4261235         Texas Medicine Resources, LLD,     PO Box 8549,    Ft Worth, Texas 76124-0549
4261236        +Toby Crunpler MD,    170 SE 8th,    Paris, Tx 75460-5975
4261237        +United States Attorney,     Eastern District of Texas,     700 North Street, Suite 102,
                 Beaumont, TX 77701-1834
4261239        +Wood County Electric,    PO Box 1827,    Quitman, Tx 75783-2827

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: FCJMOSER Jan 30 2019 06:43:00     Christopher Moser,    2001 Bryan Street, Suite 1800,
                 Dallas, TX 75201-3070
4261223         EDI: AMINFOFP.COM Jan 30 2019 06:43:00     First Premier Bank,    PO Box 5147,
                 Sioux Falls, Sd 57117-5147
4261238         EDI: VERIZONCOMB.COM Jan 30 2019 06:43:00     Verizon,    PO Box 33056,
                 St Petersburg, Fl 33733-8056
                                                                                             TOTAL: 3

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty*              +Christopher Moser,   2001 Bryan Street, Suite 1800,   Dallas, TX 75201-3070
4261229*          +Lamar National Bank,   200 S Collegiate,   Paris, Tx 75460-6303
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 31, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING
        Case 05-30319      Doc 10    Filed 01/31/19 Entered 01/31/19 23:55:17            Desc Imaged
                                     Certificate of Notice Page 3 of 3


District/off: 0540-4         User: colwilld               Page 2 of 2                  Date Rcvd: Jan 29, 2019
                             Form ID: 895                 Total Noticed: 22


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 29, 2019 at the address(es) listed below:
              Christopher Moser    cmoser@qslwm.com,
               cmoser@ecf.epiqsystems.com;kimhill@qslwm.com;cjm@trustesolutions.net
              Christopher Moser    on behalf of Trustee Christopher Moser cmoser@qslwm.com,
               cmoser@ecf.epiqsystems.com;kimhill@qslwm.com;cjm@trustesolutions.net
              David M. Hamilton   on behalf of Joint Debtor Robin Moore attorneyinparis@bluebonnet.net
              David M. Hamilton   on behalf of Debtor James Barrow Moore attorneyinparis@bluebonnet.net
              US Trustee   USTPRegion06.TY.ECF@USDOJ.GOV
                                                                                            TOTAL: 5
